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        In the United States Court of Federal Claims
                  OFFICE OF SPECIAL MASTERS
                                 No. 12-916V
                             (Filed: May 2, 2014)
____________________________________________
LILO HAMPER,                                      )             UNPUBLISHED
                                                  )
                                                  )             Stipulation;
                 Petitioner,                      )             Tetanus-diphtheria-
                                                  )              acellular pertussis
 v.                                               )             (Tdap); Guillain-
                                                  )             Barré Syndrome
SECRETARY OF THE DEPARTMENT                       )
OF HEALTH AND HUMAN SERVICES,                     )
                                                  )
                 Respondent.                      )
                                                  )

                          UNPUBLISHED DECISION 1

       On May 2, 2014, Respondent filed a joint stipulation concerning the
petition for compensation filed by Lilo Hamper on December 28, 2012. In her
petition, Petitioner alleged that the tetanus-diphtheria-acellular pertussis (Tdap)
vaccine, which is contained in the Vaccine Injury Table (the “Table”), 42 C.F.R.
§100.3(a), and which she received on December 22, 2011, caused her to develop
Guillain-Barré Syndrome (GBS). Petitioner represents that there has been no prior
award or settlement of a civil action for damages on behalf as a result of Ms.
Hamper’s alleged vaccine-related injury. Stipulation at ¶¶ 2, 4, 5.


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       Because this unpublished decision contains a reasoned explanation for the
undersigned’s action in this case, the undersigned intends to post this order on the
United States Court of Federal Claims website, in accordance with the E-
Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913
(codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by Vaccine
Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or
financial in substance and is privileged or confidential; or (2) that includes medical
files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, “the entire”
order will be available to the public. Id.

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       Respondent denies that the Tdap vaccine caused Ms. Hamper to suffer GBS
or any other injury. Nevertheless, the parties agree to the joint stipulation, attached
hereto as Appendix A. The undersigned finds said stipulation reasonable and
adopts it as the decision of the Court in awarding damages, on the terms set forth
therein.

       Damages awarded in that stipulation include:

              A lump sum payment of $135,000.00 in the form of a check
              payable to Petitioner. This amount represents compensation for
              all damages that would be available under 42 U.S.C. § 300aa-
              15(a).

Stipulation at ¶8.

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 12-916V according to this decision
and the attached stipulation. 2

      Any questions may be directed to my law clerk, Camille Collett, at (202)
357-6361.

       IT IS SO ORDERED.

                                           s/Lisa Hamilton Fieldman
                                           Lisa Hamilton-Fieldman
                                           Special Master




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              Pursuant to Vaccine Rule 11(a), the parties can expedite entry of
judgment by each party filing a notice renouncing the right to seek review by a
United States Court of Federal Claims judge.
                                           2
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